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      In The United States Court of Federal Claims
                                           No. 98-168C

                                       (Filed: May 25, 2007)
                                            __________
 NORTH STAR ALASKA HOUSING                      *
 CORPORATION,                                   *
                Plaintiff,                      *
                                                *
         v.                                     *
                                                *
 THE UNITED STATES,                             *
                                                *
                        Defendant.              *
                                                *
                                             _________

                                              ORDER
                                             _________


ALLEGRA, Judge:

        On April 2, 2007, the court issued an opinion in this case. See North Star Alaska
Housing Corp. v. United States, 2007 WL 1041442 (Fed. Cl. Apr. 2, 2007). On page 85 of the
slip version of that opinion, the court determined that defendant’s decisions regarding the
awarding of incentive fees to plaintiff for the years 1997-2003 were arbitrary and capricious and
should be set aside. In order to effectuate this ruling, in paragraph 1 on page 86 of this opinion,
the court remanded defendant’s incentive fee decisions “as to each of the affected years” to the
Army for redetermination.

         On April 9, 2007, defendant moved to amend/correct the aforementioned paragraph to
reflect that the “affected years” do not include years after 2001. Defendant argues that, in an
earlier portion of its opinion, the court determined that incentive fees for years after 2001 were
not within its jurisdiction. On April 30, 2007, plaintiff responded to defendant’s motion noting
that the court stated that it has declaratory jurisdiction over the incentive fee determinations and
that the court may grant further relief based on a declaratory judgment.

        Defendant is correct that this court does not have jurisdiction over claims relating to
incentive fee determinations made for years 2002 and 2003. For one thing, claims for these fees
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were not included in the relevant complaints.1 Moreover, plaintiff also failed to present the
incentive fee determinations for 2002 and 2003 to the contracting officer for review. Under the
Contract Disputes Act (CDA), 41 U.S.C. § 605(a), jurisdiction in this court over such claims is
lacking “unless the contractor’s claim is first presented to the contracting officer and that officer
renders [or is deemed to render] a final decision on the claim.” England v. The Swanson Group,
Inc., 353 F.3d 1375, 1379 (Fed. Cir. 2004); see also D.L. Braughler Co., Inc. v. West, 127 F.3d
1476, 1480 (Fed. Cir. 1997); James M. Ellett Constr. Co. v. United States, 93 F.3d 1537, 1541
(Fed. Cir. 1996); Bath Iron Works Corp. v. United States, 20 F.3d 1567, 1578 (Fed. Cir. 1994).
And these requirements must be met separately for each claim raised – there is no pendent or
ancillary jurisdiction. See Joseph Mortin Co. v. United States, 757 F.2d 1273, 1281 (Fed. Cir.
1985); see also Health Ins. Plan of Greater N.Y., Inc. v. United States, 62 Fed. Cl. 33, 48 (2004).

       Accordingly, the incentive fee determinations for the “affected years” to be set aside and
redetermined in accordance with page 85 and paragraph 1 of page 86 of this court’s opinion
include only determinations for the years 1997-2001.

         A further point that bears on the future management of this case warrants discussion. In a
memorandum filed at the court’s request, defendant argues that the contracting officer is free to
rule on any claims filed by plaintiff seeking incentive fees for the years 2002 and 2003. In
defendant’s view, consideration of such claims is not precluded by Sharman Co. v. United States,
2 F.3d 1564, 1571-72 (Fed. Cir. 1993), overruled on other grounds by Reflectone, Inc v. Dalton,
60 F.3d 1572 (Fed. Cir. 1995). In that case, the Federal Circuit found that once a claim is “in
litigation,” the contracting officer is divested of authority to issue a final decision on that claim
because the Justice Department has exclusive authority over the claim. In so concluding, it relied
on 28 U.S.C. § 516, which provides that “the conduct of litigation in which the United States . . .
is a party, or is interested, and securing evidence therefor, is reserved to officers of the
Department of Justice, under the direction of the Attorney General.” The court also relied upon
28 U.S.C. § 519, which indicates that “the Attorney General shall supervise all litigation to
which the United States . . . is a party.” See also Al Munford, Inc. v. United States, 30 Fed. Cl.
185, 190 (1993). Defendant asserts that because the subject of the claims was never properly in a
complaint before the court, the Department of Justice never acquired exclusive authority to
resolve the claims under sections 516 and 519, leaving the contracting officer free to resolve
these claims.

        Nonetheless, defendant argues that, under Sharman, this court’s dismissal of various
other counts in plaintiff’s complaints for lack of jurisdiction did not revest the contracting officer
with authority to rule on claims involving the subject matter of those dismissed counts. It is
difficult to understand this position, particularly since it appears to be inconsistent with
defendant’s position in at least one other case, see General Dynamics Corp. v. United States, 47


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          On May 31, 2002, the court issued an order striking the portion of plaintiff’s second
amended complaint in No. 98-168 seeking to challenge incentive fee determinations for years
after 1998. However, the incentive fee determinations for 1999 through 2001 are specifically
raised in the complaint in No. 02-1632.

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Fed. Cl. 514, 524 (2000), and especially since defendant concedes that if a plaintiff voluntary
dismisses a count, the contracting officer is immediately revested with the authority to rule on a
claim involving the same subject matter.

        In the court’s view, once a count is dismissed – whether at a plaintiff’s insistence or by
the court – it no longer implicates the “conduct of litigation” and the provisions of sections 516
and 519 no longer apply. This view is consistent with Sharman, 2 F.3d at 1571, which
emphasized the exclusive authority of the Justice Department to act in “pending litigation.” See
also Case, Inc. v. United States, 88 F.3d 1004, 1010-11 (Fed. Cir. 1996) (construing Sharman).
This construction is also consistent with a number of cases that have held that because the
powers conferred by section 516 and 519 are broad and potentially disruptive, the application of
these provisions “must be narrowly construed.” See Case, Inc., 88 F.3d at 1011; Hughes Aircraft
Co. v. United States, 534 F.2d 889, 901 (Ct. Cl. 1976); Buse Timber & Sales, Inc. v. United
States, 45 Fed. Cl. 258, 265 (1999); Alaska Pulp Corp. v. United States, 34 Fed. Cl. 100, 103
(1995); United States v. Daniel Urbahn, Seelye and Fuller, 357 F. Supp. 853, 858 (N.D. Ill.
1973).2 Applying this narrow construction principle, the courts have rejected the notion that the
Justice Department has exclusive authority to resolve claims that might lead to litigation, see,
e.g., Hughes Aircraft Co., 534 F.2d at 901, or that impact claims pending before the court, see,
e.g., Case, Inc., 88 F.3d at 1010; McDonnell Douglas Corp. v. United States, 37 Fed. Cl. 285,
291 (1997).

         It thus would seem that nothing in sections 516 and 519 precludes the contracting officer
here from ruling on claims that have been dismissed. That plaintiff might appeal that dismissal
does not alter this conclusion; if such an appeal is filed, the provisions of sections 516 and 519
are reactivated. The fact that such an appeal might be filed should no more trigger these
provisions than the possibility that a plaintiff voluntarily agreeing to a dismissal might eventually
seek reconsideration or relief under RCFC 60(a) or (b).3 Rather, it would appear that a claim is
“in litigation” only if it is covered by a complaint that is still before the court. Indeed,
defendant’s apparent reading of sections 516 and 519 would lead to serious anomalies. For one
thing, if defendant is right, once a plaintiff misfiled a claim, it would be unable to obtain a


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           Evidence that the phrase “conduct of litigation,” as used in section 516, does not
encompass every task related to litigation may be found in that portion of section 516 that
specifically reserves to the Justice Department “securing evidence” with respect to the conduct of
litigation. Seemingly, if Congress felt that the “conduct of litigation” included a range of tasks
outside the ambit of formal proceedings, it would not have found it necessary to afford the
Justice Department the specific authority to secure evidence.
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          Of course, another possibility that has not been fully explored in the decisional law is
that, notwithstanding section 516 and 519, the Department of Justice might, in some instances,
delegate to contracting officers the authority to rule on the claims (or at least to deny them). See
Witherington Constr. Corp. v. United States, 45 Fed. Cl. 208, 211-12 (1999) (discussing this
option); see also 28 U.S.C. § 543.

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decision on that claim from the contracting officer, even after the portion of its complaint relating
to the claim had been dismissed, until either: (i) the court allowed an interlocutory appeal as to
the dismissal and that appeal was resolved; or (ii) until no further appeals were available with
respect to any judgment ultimately rendered on the portion of the case that had not been
dismissed. See RCFC 54(b); see also Invitrogen Corp. v. Clontech Laboratories, Inc., 429 F.3d
1052, 1069 (Fed. Cir. 2005) (interlocutory rulings merge with the final judgment for appeal
purposes); Fifth Third Bank of Western Ohio v. United States, 402 F.3d 1221, 1236 (Fed. Cir.
2005). Such a rule could have serious implications, particularly where statutes of limitation are
involved. Further, if defendant is right, then a case dismissed by a district court presumably
should be viewed as still pending for purposes of 28 U.S.C. § 1500, until the appeal time has run.
Yet, the decisional law in this court is to the contrary. See, e.g., Fire-Trol Holdings, LLC v.
United States, 65 Fed. Cl. 32, 33 n.4 (2005); Young v. United States, 60 Fed. Cl. 418, 425 (2004)
(“once a claim is dismissed or denied, it is no longer pending in another court until a motion for
reconsideration or notice of appeal is filed”); but see Firebaugh Canal Water Dist. v. United
States, 70 Fed. Cl. 593, 599 (2006).

        At least for the moment, in terms of deciding how to proceed in this case, the court rejects
defendant’s broad view of section 516 and 5129. Construing sections 516 and 519 as effectively
not applying to dismissed claims does not undercut the ability of the Department of Justice to
control litigation pending before this or any other court. It merely removes plaintiff from CDA
limbo.

        Plaintiff has expressed a willingness to take the steps necessary to perfect any counts or
paragraphs dismissed for lack of jurisdiction by refiling claims relating to those matters with the
contracting officer and, if necessary, by bringing these issues back before this court via a new
complaint to be consolidated with the complaints already pending before this court. Based on the
foregoing, the court believes that this would be an appropriate course, assuming that an overall
settlement of this matter cannot be effectuated – a global settlement of all the matters pending
before the court would, of course, be preferable. Should this process require plaintiff to file a
further complaint with the court, the Clerk shall waive the filing fee for such a complaint and
assign the case to the undersigned.

       IT IS SO ORDERED.



                                                              s/ Francis M. Allegra
                                                              Francis M. Allegra
                                                              Judge




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